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         NOT YET SCHEDULED FOR ORAL ARGUMENT

                             No. 22-7063


         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


 American Society for Testing and Materials; National Fire Protection
 Association, Inc; American Society of Heating, Refrigerating, and Air-
                     Conditioning Engineers, Inc.
                                           Appellants,
                                   v.
                      Public.Resource.Org, Inc.,
                                             Appellee.

         Appeal from the United States District Court for the
                        District of Columbia
         Hon. Tanya S. Chutkan, Case No. 1:13-cv-1215-TSC


  AMICUS BRIEF OF PRIME ACCESS CONSULTING, INC. IN
   SUPPORT OF APPELLEE PUBLIC.RESOURCE.ORG, INC.


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December 9, 2022
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         Certificate as to Parties, Rulings Under Review,
                         and Related Cases

A. Parties and Amici

    Except for amici Prime Access Consulting, Inc., Raymond A. Mosley

and Robert C. Tapella, and American Federation of State, County and

Municipal Employees, and any amici that have yet to appear before this

Court, all parties, intervenors, and amici appearing before the district

court and in this Court are listed in the Brief for Appellee

Public.Resource.Org, Inc.

    Pursuant to D.C. Cir. R. 26.1 and 28(a)(1)(A) and Fed. R. App. Pr.

29.1(a)(4)(A), amicus Prime Access Consulting, Inc. states that it has no

parent corporations and that no publicly held corporation or other

publicly held entity owns ten percent (10%) or more of amicus.

B. Rulings Under Review.

    References to the rulings at issue appear in the Brief for Appellee

Public.Resource.Org, Inc.

C. Related Cases

    This case was previously before this Court in No. 17-7035, American

Society for Testing, et. al., v. Public.Resource.Org, Inc. Counsel is not

aware of any other related cases before this Court.



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                      Glossary of Abbreviations

    Pursuant to D.C. Cir. Handbook of Practice and Procedures

§ IX.A.8(d), amicus has avoided the use of any abbreviations other than

those that are part of common usage.

                      Statutes and Regulations

    Except for the provisions of the Rehabilitation Act of 1973 and the

Americans with Disabilities Act of 1990 contained in the addendum to

this brief, all applicable statutes and regulations are contained in the

addendum to the Brief for Appellee Public.Resource.Org.




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            Statement of Identity, Interest in Case, and
                   Source of Authority to File

    Amicus Prime Access Consulting, Inc. is an organization dedicated

to promulgating inclusive design and accessibility in technology,

especially as it pertains to accessible websites and web content. Amicus

works on fundamental problems facing disabled people, especially those

who have no or low vision or any other print disability. As part of its

mission, amicus aspires to safeguard the civil rights of people with

disabilities under federal law. Sina Bahram, amicus’s founder and

previously amicus in this case before the district court and this Court, is

a recognized expert in computer science and accessibility and is blind.

    More specifically, amicus aims to ensure that people with print

disabilities can access government laws, including standards that are

incorporated by reference. Currently, standards provided via many of

American National Standards Institute’s virtual “reading rooms” and

associated portal and documents pose substantial barriers to users with

disabilities that often completely block access to the standards.

Appellant standards setting organizations’ arguments about the use of

reading rooms as a means for broadly ensuring public access to law, if




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given credence by this Court, would dangerously undermine the rights

of people with print disabilities to access the law on equitable terms.

    All parties have consented to the filing of this brief. Pursuant to

D.C. Cir. Rule 29(d), counsel to amicus has coordinated with other amici

supporting Appellee and sought to ensure that the arguments presented

in the brief are novel and that a separate brief is necessary.1

      Statement of Authorship and Financial Contributions

    No counsel for a party authored this brief in whole or in part. No

party, counsel to any party, or any person other than amici curiae

contributed money to fund preparation or submission of this brief.

                               Argument

    The Court should rule in favor of appellee Public.Resource.Org.

Appellant standards setting organizations claim that they make their

incorporated-by-reference standards widely available to the public.2

However, a technical review by amicus of many of the reading rooms for


1 We understand that the Brief of Amici Members of Congress will

speak generally to Congress’s interest in access as a constituency policy
issue.
2 As of the date the organizations filed their brief, September 16, 2022,

they claimed “that there is no evidence in the record that anyone has
ever been unable to access one of the standards at issue in this
litigation to comply with a government regulation.” Appellants’ Brief at
8.

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standards incorporated by reference used by the organizations—as well

as the portal leading to those rooms and many of the documents they

contain—revealed that they are inaccessible to users with print

disabilities. See generally Addendum at REV-1 (providing a full

technical review of the reading rooms and associated portal and

documents). As this brief explains, users with print disabilities often are

outright blocked from accessing the standards. See id.

    The inaccessibility of the reading rooms and associated portal and

documents has significant consequences for this Court’s resolution of

the fair use issues in this case—to say nothing of the broader

implications of access to the law by people with disabilities. The

standards setting organizations assert that the provision of standards

to the public via the American National Standards Institute’s portal and

associated reading rooms renders Public.Resource.Org’s use of the

standards non-transformative and thus tilts the first fair use factor

against fairness. See Appellants’ Brief at 31–32.3 Additionally, the

organizations’ expert asserted that “parties that are interested in or


3 Uses that address accessibility shortcomings can tilt the first factor

toward fair use regardless of whether they are transformative. See
Authors Guild v. HathiTrust, 755 F.3d 87, 102 (2d Cir. 2014).

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affected by” the organizations’ standards “but who do not necessarily

need a digital or hardcopy of the standards are already well-served” by

the reading rooms, thereby tilting the fourth factor against fair use.

Appellants’ Brief at 42–43. But contrary to the standards setting

organizations’ claims, the reading rooms and associated portal and

documents prevent people with print disabilities—a substantial portion

of the public with an interest in incorporated-by-reference standards

with the force of law—from accessing them.

    As this brief explains, the reading rooms and associated portal and

documents pose more than minor inconveniences to users seeking to

view standards. The reading rooms violate basic web accessibility

standards, such as the Web Content Accessibility Guidelines,4 and

consequently block the significant population of people with print

disabilities from engaging fully with the law. These accessibility failures

are so severe that they likely violate federal disability laws, including

the Americans with Disabilities Act and Rehabilitation Act.




4 The Web Content Accessibility Guidelines are part of a series of web

accessibility guidelines published by the Web Accessibility Initiative of
the World Wide Web Consortium. Web Content Accessibility Guidelines
2 Overview, https://www.w3.org/WAI/standards-guidelines/wcag/.

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I.   The reading rooms that the standard setting organizations
     rely on are inaccessible to users with print disabilities.

     Appellant standards setting organizations contend that the reading

rooms they rely on to provide access to incorporated-by-reference

standards are “freely accessible.” Appellants’ Brief at 10. Closer

examination proves otherwise.

     The technical review performed by amicus, provided in full in the

addendum to this brief, demonstrates that the configuration of the

reading rooms and associated portal and documents severely hinders—

and in some cases entirely blocks—users with print disabilities from

accessing the incorporated standards. See generally Addendum at REV-

1. This review, which amicus estimates captures only approximately 10

to 15 percent of the issues in the reading rooms, highlights that many of

the hindrances that users with print disabilities attempting to review a

standard typically encounter are severe.5 Collectively, these problems



5 The review categorizes issues according to a 3-level severity scale:

    Severity 1: Issues that either will prevent a user from carrying out a
task or can drastically decrease the effectiveness with which they are
able to do so. These issues can be characterized as near-complete blocks
to accessibility.
    Severity 2: Issues which are likely to cause significant frustration or
confusion, but in a non-blocking fashion given enough time,


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with the reading rooms and associated portal and documents effectively

prevent users with print disabilities from accessing incorporated-by-

reference standards.

    A. The American National Standards Institute portal
       prevents users from accessing reading rooms.

    At every step that it takes to access the standards of a given agency,

there is an obstacle that either slows down users with print disabilities

in both efficiency and effectiveness, or outright blocks them from

meaningfully accessing the standards. Entering the American National

Standards Institute portal, finding the reading room, downloading the

standards and other documents, and finally reading and scrolling

through the document reveals a design that is effectively unnavigable—

and thus inaccessible—to a significant number of users with print

disabilities.



experimentation, or assistance. These issues can be characterized as
blocks to accessibility that may be overcome by a “power user.”
    Severity 3: Issues which are demonstrably problematic but will
have the least noticeable impact. These issues can be characterized as
general irritations and annoyances. However, an excessive presence of
Severity 3 items can substantially degrade a user’s experience making
the circumstances similar to Severity 1.
    The review details 39 items, 34 of which are Severity 1 issues and 5
of which are Severity 2 issues. The review focuses on the most egregious
and persistent issues and does not detail Severity 3 issues.

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    Before a user can utilize a specific reading room, they must go

through the portal on the American National Standards Institute

homepage to find the relevant room for the standard they wish to

access.6 The portal deters and discourages users with print disabilities,

particularly those who are blind or who have low-vision, from trying to

access information on the website and reach reading rooms. Addendum

at REV-2–3.

    More specifically, the portal is riddled with incomplete semantic

markup, meaning that distinct sections of the portal are not marked up

in a programmatic way that would convey the information intelligibly to

a user who accesses the portal with a screen reader. Id.7 As a result,

users cannot effectively scroll to important information and navigate to

the reading rooms where the standards themselves are hosted.




6 American National Standards Institute, Incorporated by Reference

Standards Portal, https://ibr.ansi.org.
7 A screen reader is a “software progra[m] that allow[s] blind or [low-

vision] users to read the text that is displayed on the computer screen
with a speech synthesizer or braille display” and functions as the
“interface between the computer’s operating system, its applications,
and the user.” American Foundation for the Blind, Screen Readers,
https://www.afb.org/blindness-and-low-vision/using-
technology/assistive-technology-products/screen-readers.

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    Missing text alternatives for logo links on the portal under the

“Hosted by [the American National Standards Institute]” tab exacerbate

the navigation issues. Addendum at REV-3–4. This missing information

both confuses users and impedes them from acting efficiently because

they are unaware that they can activate the logo links to be

immediately directed to agency-specific websites and reading rooms.

    Even when alternative text is provided, it often is inaccurate and

irrelevant, again impeding and confusing users. For example, when a

screen reader reads the alternative text for the American Institute of

Steel Construction logo, it is announced as the unrelated word

“publications.” Id.

    If a user somehow manages to arduously navigate from the portal to

the reading room webpage where the actual standards are hosted, they

must create an account to be able to enter the reading room. Addendum

at REV-51. However, the registration forms required to create an

account often are also inaccessible. Id. Some of the accessibility barriers

in these forms include faulty input fields that prevent users from

entering in important account information; a lack of user feedback, such

as the presence of loading or refreshing animation or disclaimer text



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when the user checks that they have “read and accept[ed]” privacy

policies; and the use of inaccessible technologies for human verification

tests (also known as Completely Automated Public Turing tests to tell

Computers and Humans Apart).8 More specifically, users with limited

mobility who rely on assistive technology to activate links and select

content must race against the two-minute timer of the test, while users

with low and no vision either have difficulty or cannot identify the

images on the test. Addendum at REV-48.

    B. The standards are not available in accessible formats.

    If users somehow are able to navigate through the inaccessible

American National Standards Institute portal and arrive at their

reading room of interest, they are faced with several accessibility




8 Accessible human verification tests have been developed and deployed

by major technology vendors to provide users with disabilities with the
opportunity to complete the test. For example, Google’s version 2
human verification test is a potential accessible alternative, and the
technology and code can be utilized by anyone. Google, Using
reCAPTCHA V2: Accessibility,
https://support.google.com/recaptcha/answer/6175971?hl=en. The
review discovered that the reading rooms had not deployed any of these
accessible human verification tests.

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barriers that hinder reading and interacting with the standards hosted

there. Some of the issues are the same ones occurring at the portal.9

    Some reading rooms improperly use an element known as an

“iframe,” which can impose serious accessibility barriers when not

appropriately labeled and utilized. An iframe is essentially a webpage

embedded inside another webpage. When an iframe is incorrectly

labeled, then a screen reader will not be able to identify it correctly to

the user and can utter a long, nonsensical name consisting of dozens—

sometimes hundreds—of alphanumeric characters. As a result of this

issue, along with other incorrect markup, users relying on a screen

reader to read the standards on the American Society for Testing

Materials reading room will be read back nothing at all. Addendum at

REV-20.

    Even if an iframe is labeled properly, there can be additional

accessibility problems on the embedded page. On the American Society

for Testing Materials reading room, some links are mislabeled and as a

result, instead of announcing a description of the links, the screen




9 See discussion supra, Part I.A (discussing semantic markup and

alternative text issues).

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reader will instead read back the names of the previous toolbar that

was used. Id. In other cases, the links or content within embedded

iframes are simply read as “blank,” robbing the reader of important

information and directions about the standards. Id.

    Many of the reading rooms have insufficient color contrast, making

it difficult for users with low vision or color blindness to see and click on

the numerous links in the standards documents. Addendum at REV-22.

For example, the links in the Heating and Air Conditioning Association

reading room are displayed with a 2.6:1 ratio that falls below the

minimum 4.5:1 contrast required by the Web Content Accessibility

Guidelines. Id. Color contrast issues also render controls and icons

inaccessible in some reading rooms, such as the Air-Conditioning,

Heating and Refrigeration Institute room. Id at REV-29.

    Even when a user can identify visual or textual content, they may

face barriers interacting with that content. In the case of the American

Plywood Association’s reading room, there is inaccessible on-hover

content, meaning that additional content becomes available only when a

mouse hovers over it and cannot be accessed through keyboard focus or

shortcuts. Addendum at REV-43–44. Consequently, users that rely on



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keyboards or speech input to navigate through a document are barred

from accessing that content. Id.

    C. The reading rooms rely on inaccessible applications and
       tools.

    Many of the reading rooms examined in the technical review report

utilize Portable Document Format files to present important

information or directions to users about standards. However, the

Portable Document Format files pose several accessibility issues that

hinder or block users from interacting with, using, and viewing the

standards. Addendum at REV-6.

    For example, to access the read-only copy of many of the standards,

users must download the FileOpen plug-in and the Adobe Portable

Document Format file reader. Addendum at REV-5–6. However, there

are no clear instructions on how to open the standards files once

downloaded. Id. Moreover, the downloaded standards are encumbered

with digital rights management controls that prevent users with print

disabilities from copying the standards from a laptop or desktop

computer to a Braille notetaker or refreshable Braille device. See id.

The controls also preclude users from using custom Portable Document

Format file readers that are more accessible than Adobe Acrobat to read


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the standards and from transforming the standards into more

accessible formats, such as Microsoft Word or Hypertext Markup

Language. See id.

    Users with disabilities also encounter problems when attempting to

open certain Portable Document Format files through the Chrome

browser. Addendum at REV-6. Using Chrome sometimes results in an

“Error Failed to Load PDF document” message, with no additional

information on how to access the file. Id. This is not only extremely

frustrating for users with disabilities, but also a deterrent; users that

are not familiar with device settings are likely to believe that the

Portable Document Format files are broken and inaccessible and may

abandon trying to open the files. Id.

    Even if a user can download and open a Portable Document Format

file, they still will encounter accessibility issues with the file in the

“view only” mode. For users with print disabilities, a screen reader

cannot meaningfully decipher the mathematical and visual information

presented in Portable Document Format files, nor navigate efficiently

through what is often hundreds of pages for a single standard’s body.

This is because Portable Document Format files often have language in



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the body or title that is set and unmovable, do not have mathematical

equations included in a way that can functionally be read by a screen

reader, do not contain text alternatives for diagrams, charts, or graphs,

or do not contain labeled tables and lists or appropriate semantic

markup throughout the document that makes it logical and efficient for

users with print disabilities to read from. Addendum at REV-7.

Consequently, the screen reader output is difficult or impossible to

comprehend.

    Moreover, the loss of semantic markup and labels—or the

mislabeling of elements in the documents—makes it onerous for users

to identify information that the standards setting organizations deem

as “essential” versus information that is “helpful” to understanding and

complying with the standards. See Appellants’ Brief at 22. The

organizations claim that their standards contain “significant optional or

explanatory material.” Id. However, the inaccessible distinctions

between information sets a heavy burden on users with print

disabilities to expend more time contextualizing the information that

they are reading, which may be altogether impossible.




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    Additionally, when users select to read a footnote or endnote, they

are taken directly to the citation, with no way of returning to their

original position in the document. This ineffective navigation structure

embedded in the Portable Document Format files imposes a significant

burden on users with print disabilities who are trying to conduct

effective research but are repeatedly forced to re-find their place again

in a document that could be hundreds of pages long.

    Finally, users are precluded from being able to take accessibility

into their own hands where the standards setting organizations have

failed. Because many of the provisions of the organizations’ standards

are locked in as Portable Document Format files, mistakes cannot be

easily remediated since they are coded into the metadata of the file. To

transform the standards to an accessible format, a user would need to

engage in significant semantic restoration, which may prove impossible.

II. The reading rooms’ inaccessibility is sufficiently severe that
    it likely violates federal disability laws.

    The reading rooms and associated portal and documents are

inaccessible to a degree that they likely violate federal disability laws

because their structure discriminates on the basis of disability. From a

legal perspective, a website must be “equally usable by people with


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disabilities who rely on alternate forms of input or output, such as

screen readers, alternate keyboards, captioning, voice recognition, and

alternative devices or no pointing devices.”10

    The reading rooms and associated portal and documents likely are

subject to Section 504 and Section 508 of the Rehabilitation Act of 1973

(the “Rehab Act”) based on the government’s reliance on them in

rulemaking activities. The reading rooms and associated portal and

documents also likely are subject to Title III of the Americans with

Disabilities Act as places of public accommodation. In either case, the

inaccessibility of the reading rooms and associated portal and

documents rises to the level of potential federal disability law

violations.

    A. The reading rooms likely are subject to Section 504 of the
       Rehabilitation Act.

    Because the government routinely relies on the reading rooms and

associated portal and documents in the course of rulemaking, the

reading rooms and associated portal and documents effectively are a



10 See generally Jonathan Lazar, J. Bern Jordan, and Brian Wentz,

Incorporating Tools and Technical Guidelines into The Web Accessibility
Legal Framework for ADA Title III Public Accommodations, 68 Loy. L.
Rev. 305, 305–306 (2022).

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service provided by the government. As such, the reading rooms likely

trigger Section 504’s anti-discrimination provisions.

    Under Section 504, people with disabilities cannot “solely by reason

of [their] disability, be excluded from the participation in, be denied the

benefits of, or be subjected to discrimination under any program or

activity receiving federal financial assistance or under any program or

activity conducted by any Executive agency.” 29 U.S.C. § 794(a). Section

504 applies to both executive and independent agencies.11

    Here, federal agencies’ rulemaking activities rely explicitly on the

reading rooms and associated portal and documents, and thus are




11 While Section 504 refers to “program[s] or activit[ies] conducted by

any Executive agency,” 29 U.S.C. § 794(a), the legislative history of the
Rehab Act indicates that “section 504 . . . [includes] any function or
activity of any department or agency of the Federal Government.” 124
Cong. Rec. 13,901 (1978) (remarks of Rep. Jeffords, the sponsor)
(emphasis added). Agencies, including the independent Federal
Communications Commission, consider Section 504 binding. E.g.,
Amend. of Part 1 of the Commission’s Rules to Implement Section 504 of
the Rehab. Act of 1973, 2 FCC Rcd. 2199, 2199 & n.4 (1987) (“Congress
intended . . . amendments [to Section 504] to apply to all federal
agencies, including independent regulatory agencies like the [Federal
Communications Commission]”).

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inextricably linked.12 More specifically, the federal government points to

the reading rooms as a free resource to find standards incorporated by

reference in rulemaking activities.13 This effectively establishes the

reading rooms and associated portal and documents as an essential part

of a federal government activity. Because agencies bestow on the




12 Indeed, the Office of Management and Budget specifically “directs

agencies to use standards developed or adopted by voluntary consensus
standards bodies” consistent with federal law and executive orders.
Circular A-119 at 14 (revised Jan. 27, 2016),
https://www.whitehouse.gov/wp-
content/uploads/2020/07/revised_circular_a-119_as_of_1_22.pdf. Where
agencies repeatedly engage standards setting organizations in the
incorporation-by-reference process and include the organizations’
reading rooms in the final rules, the reading rooms and associated
portal and documents are subject to federal laws regulating the
agencies that rely on them.
13 By way of recent example, the Consumer Product Safety Commission

promulgated a final rule establishing a safety standard for crib
mattresses that incorporated by reference standards published by the
American Society for Testing and Materials. Safety Standard for Crib
Mattresses, 87 Fed. Reg. 8640, 8640 (Feb. 15, 2022) (to be codified at 16
C.F.R. pt. 1241). Commission staff “regularly participate[d] in the . . .
subcommittee meetings” and “actively participated” in the development
of the standard. Id. at 8640–41. The Commission specifically addressed
several concerns from commenters about concerns over the legally
required availability of the standard by pointing to its availability at
the Society’s reading room. Id. at 8665, 8669. When the Society changed
the uniform resource locator of the reading room, the Commission
published a correction specifically to alert the public of the new location
of the reading room. Safety Standard for Crib Mattresses, 87 Fed. Reg.
41,059, 41,060 (July 11, 2022) (to be codified at 16 C.F.R. § 1241.2).

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reading rooms a crucial role in rulemaking, the government’s use of the

reading rooms is subject to Section 504’s requirements.

    B. The reading rooms likely are subject to Section 508 of the
       Rehab Act.

    Because the government relies on the reading rooms and associated

portal and documents to provide information and data to the public in

the course of rulemaking, the reading rooms and associated portal and

documents also likely are subject to Section 508 of the Rehab Act.

Section 508 requires any electronic and information technology

procured by the government to allow members of the public with

disabilities “seeking information or services from a Federal . . . agency

to have access to and use of information and data . . . comparable to the

access to and use of the information and data by such members of the

public who are not individuals with disabilities.”14 29 U.S.C. §

794d(a)(1)(A)(ii).




14 Section 508 applies to executive agencies and to independent

agencies. See Clark v. Vilsack, No. CV 19-394 (JEB), 2021 WL 2156500,
at *1 (D.D.C. May 27, 2021) (noting Section 508’s application to the
United States Department of Agriculture, an executive agency);
D’Amore v. Small Business Administration, No. 21-CV-01505 (CRC), 21
WL 6753481 (D.D.C. Set. 16, 2021) (applying Section 508 to the Small
Business Administration, an independent agency).

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    Thus, the reading rooms and associated portal and documents must

be configured so disabled people and nondisabled people seeking to

review an incorporated-by-reference standard have comparable use and

access. It is not sufficient that a person with a print disability could

theoretically access a standard.

    C. The reading rooms likely are subject to Title III of the
       Americans with Disabilities Act.

    Finally, the reading rooms likely are places of public accommodation

subject to Title III of the Americans with Disabilities Act. Title III bars

constructing a public accommodation in a way that “subjects an

individual or class of individuals on the basis of a disability . . . directly,

or through contractual, licensing, or other arrangements, to a denial of

the opportunity . . . to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodations of an entity.” 42

U.S.C. § 12182(b)(1)(A)(i).

    The reading rooms likely are public accommodations covered by

Title III under the theory, followed by some courts, that places of public

accommodation need not be connected to a physical space.15 It is


15 E.g., Nat’l Ass’n of the Deaf v. Netflix, Inc., 869 F. Supp. 2d 196, 200

(D. Mass. 2012), applying Carparts Distrib. Ctr., Inc. v. Auto.


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irrelevant that a website has no physical location as long as it offers a

good or service to the general public.16

    The standards setting organizations explicitly rely on the fact that

reading rooms provide a service to the public. Appellants’ Brief at 24

(“Plaintiffs make their [incorporated by reference] standards widely

available to the public, including through free online access.”). Where

the organizations admit they provide a service to the public, the reading

rooms are a public accommodation.

    Alternatively, the reading rooms likely are public accommodations

covered by Title III under the “nexus” theory followed by other courts.17

Under the “nexus” theory, Title III covers websites where there exists

“some connection between the good or service complained of and an




Wholesaler’s Ass’n of New England, Inc., 37 F.3d 12, 19 (1st Cir. 1994);
see also Morgan v. Joint Admin. Bd., 268 F.3d 456, 459 (7th Cir.
2001)(citing Doe v. Mut. of Omaha Ins. Co., 179 F.3d 557, 558 (7th Cir.
1999).; Tavarez v. Moo Organic Chocolates, No. 21-CV-9816 (VEC), 2022
WL 3701508, at *1 (S.D.N.Y. Aug. 26, 2022).
16 Netflix, Inc., 869 F. Supp. 2d. at 200.
17 E.g., Robles v. Domino’s Pizza, 913 F.3d 898, 905 (9th Cir. 2019);

Haynes v. Dunkin’ Donuts, 741 F. App’x 752, 754 (11th Cir. 2018).
Legislation is pending that would affirm Title III’s application to
websites. See Websites and Software Applications Accessibility Act, S.
4998, H.R. 9021 § 2(b)(1), 117th Cong. (2022).

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actual physical place.”18 If a website impedes the access of people with

disabilities to “the full and equal enjoyment of goods and services”

offered in physical locations, the website violates Title III.19

    Here, the purposes of the standards being available via the online

reading rooms and of the standards being available in the National

Archives are the same.20 Thus, the standards setting organizations

arguably establish a nexus by making standards available via the

reading rooms.

    D. The reading rooms likely violate federal disability laws.

    Regardless of which federal disability law is most applicable, the

analysis to determine compliance is largely the same. Ultimately, the

reading rooms’ inaccessibility rises to the level of non-compliance with

federal disability laws.




18 Domino’s Pizza, 913 F.3d at 905, quoting Weyer v. Twentieth Century

Fox Film Corp., 198 F.3d 1104, 1114 (9th Cir. 2000).
19 Nat’l Fed’n of the Blind v. Target, 452 F. Supp. 2d 946, 956 (N.D. Cal.

2006).
20 See, e.g., 87 Fed. Reg. at 8640, 8664 (equating the provision of an

incorporated-by-reference standard through a reading room with the
availability of the standard for physical inspection at the National
Archives and a federal agency facility).

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    Federal disability laws prohibit the kinds of deficiencies that exist

in the reading rooms discussed supra, including improper color use,

failure to use alternative text, and keyboard-only user discrimination.21

Courts have detailed what constitutes a cognizable Section 504 claim

against a website, particularly where websites are incompatible with

assistive technology.22 Section 508 is similarly restrictive,23 and




21 See discussion supra, part I.
22 For example, a plaintiff ’s claim that a website violated Section 504

where it was incompatible with screen readers survived a motion to
dismiss. Fernandez v. Mattress Xperts Broward, Inc., No. 21-80573-CIV,
2021 WL 3931243, at *2 (S.D. Fla. Sept. 2, 2021). The court considered
the possibility this incompatibility posed an unacceptable “intangible
barrier” to a physical location. Id.
23 See e.g., United States Access Board, Information and

Communication Technology Guidelines: Revised 508 Standards and 255
Guidelines §§ E205.4 & 702.10.1 (Jan. 22, 2018), https://www.access-
board.gov/ict/#E205-content (implementing Section 508 standards and
specifically incorporating version 2.0 of the Web Content Accessibility
Guidelines); see also Ashley Johnson & Daniel Castro, Improving
Accessibility of Federal Government Websites, Information Technology
& Innovation Foundation (Jun. 3, 2021),
https://itif.org/publications/2021/06/03/improving-accessibility-federal-
government-websites/. (Low-scoring websites included “images and
links that are not accurately described in their text alternatives, text
alternatives that are repetitive or confusing, and images with no text
alternatives,” but earned points for “accurate captions on video content,
the use of high-contrast colors, and a lack of flashing elements that
might impact people with photosensitive seizure disorders”).

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routinely has been considered in government reports.24 Title III likewise

has been construed to prohibit the kinds of deficiencies detailed above.25




24 A 2012 Department of Justice report details requirements for Section

508 compliance. Section 508 Report to the President and Congress:
Accessibility of Federal Electronic and Information Technology
(September 2012), https://archive.ada.gov/508/508_Report.htm. For low-
vision and photosensitive users, the Department of Justice requires
appropriate use of color with proper contrast. Id. For keyboard-only
users, websites using programmatic elements should provide keyboard
accessibility and “a well-defined on-screen indication of the current
focus that moves with keyboard navigation.” Id. Requirements for
screen reader access are the most extensive. See id. Websites must
provide alternate text and descriptive narration for multimedia content
and use proper headers, both on web pages and tables. Id. Additionally,
programmatic elements must provide sufficient information to assistive
technology. Id. The Department of Justice recently indicated they
intend to update the report. Casey, Scott, Durbin, Duckworth Announce
Department of Justice Commitment to Conduct Web Accessibility Report
(Nov. 21, 2022), https://www.aging.senate.gov/press-releases/casey-scott-
durbin-duckworth-announce-department-of-justice-commitment-to-
conduct-web-accessibility-report.
25 Del-Orden v. Bonobos involved a screen reader user and a defendant

who ran an online retail store whose website deficiencies included alt-
text for images only activated by a cursor and that, when zoomed in,
had key programmatic elements not visible onscreen. No. 17 CIV. 2744
(PAE), 2017 WL 6547902, at *12 (S.D.N.Y. Dec. 20, 2017). Unlike where
a disabled person could use a website with some or no accommodations,
that website denied “full and equal opportunity to enjoy the services
defendants provide.” Id.; see also Dunkin’ Donuts LLC, 741 F. App’x at
754 (Dunkin’ Donuts’ website incompatibility with a screen reader was
sufficient to survive a motion to dismiss because “[t]he failure to make .
. . services accessible to the blind can be said to exclude, deny, or
otherwise treat blind people differently . . . because of the absence of
auxiliary aids and services.”).

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    Regardless of which disability laws apply, the analysis is largely the

same. The reading rooms are deficient to the point of violating federal

disability laws because they discriminate against blind and low vision

users, keyboard-only users, and other users who require assistive

technology. As discussed supra, the reading rooms and associated portal

and documents contain numerous deficiencies that deprive users with

print disabilities the level of access required under federal disability

law.26

    Color Contrast Failures. First, the reading rooms’ failure to use

proper color contrast deprives low-vision and keyboard-only users of

free and equal access to the standards.27 Improper use of color denies

disabled users access that is comparable to non-disabled users. When

users struggle to discern document links to navigate standards, they

are denied a comparable experience to non-disabled users. Color

contrast failures additionally deprive those who cannot discern links

and differences in text of access to information.




26 See discussion supra, Part I.
27 See discussion supra, Part I.B.



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    In failing to use proper color contrast, the reading rooms and

associated portal and documents exclude members of the public—the

kind of exclusion Congress designed disability law to prevent.

Regardless of the disability laws being applied, improper color usage

unlawfully deprives users with disabilities of access. Users with

disabilities cannot have full and equal enjoyment of a government

service or public accommodation if they cannot actually read the

information they are trying to acquire.

    Discrimination Against Keyboard-Only Users. The reading

rooms further discriminate against keyboard-only users with a

structure that is functionally impossible to navigate without use of a

mouse.28 By failing to consider the accessibility requirements of all

members of the public, and constructing the reading rooms in a way

that directly inhibits access by keyboard-only users, the reading rooms

run afoul of all three aforementioned federal disability laws.

    Moreover, even if some users with print disabilities have the

patience and dexterity required to navigate dense reading rooms using

only a keyboard with poor focus indication, that does not absolve the


28 See discussion supra, Part I.



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failure of the reading rooms to comply with disability laws. Being able

to access the information only with major difficulties not faced by those

without disabilities still deprives members of the public of full use and

enjoyment of a public service.

    Improper Alternative Text and Headings. The failure to use

alternative text and proper headings in formatting standards is

fundamentally incompatible with screen readers and denies screen-

reader users access.29 As discussed supra, many reading rooms rely on

inaccessible human verification tests with substantial alternative-text

problems. Addendum at REV-10.30 Reading rooms offer no alternatives,

despite the existence of functioning alternative tests.31 It is thus

impossible for a screen-reader user to pass the test, make an account,

and access the standards. Addendum at REV-10.

    Alternative text problems also pervade poorly formatted Portable

Document Format files in the reading rooms.32 Deficient Portable

Document Format files are wholly impossible for screen-readers to


29 See Improving Information & Technology Foundation Report supra at

note 23.
30 See discussion supra, Part I.
31 See discussion supra, note 8.
32 See discussion supra, Part I.



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read–what appears to be poor formatting means that whole swaths of

text and complex equations are unreadable or incomprehensible. Id.

    Standards setting organizations allege “the undisputed evidence

shows that people who rely on standards can obtain them with little

difficulty.” Appellants’ Brief at 9. But reading rooms that do not use

appropriate alternative text and screen-reader compatible formatting

are impossible to access. A standard cannot be accessible under

disability law if some members of the public with disabilities cannot

make an account to log in to the reading room, much less attempt to

navigate it.

                               *     *    *

    Federal disability laws require the reading rooms and associated

portal and documents to provide comparable experiences to disabled

and nondisabled people alike. It is impossible to provide a comparable

service that complies with federal disability law where users with print

disabilities cannot access all the information in a clear, cognizable, and

navigable fashion.




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                              Conclusion

    In asserting that they make their standards available to “people

who rely on [them],” the standards setting organizations effectively

imply that they do not believe disabled people rely on their standards.

Appellants’ Brief at 9. The inaccessibility of the reading rooms and

associated portal and documents bar disabled members of the public

from accessing incorporated-by-reference standards to a degree that

likely runs afoul of federal disability laws. Contrary to the standard

setting organizations’ contentions, the standards are not available to

users with print disabilities who wish to access them online, and the

organizations’ fair use arguments that rely on these contentions must

fail accordingly. Thus, amicus respectfully urges this Court to rule in

favor of appellee Public.Resource.Org.




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                              Respectfully submitted,

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